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    District Court Boulder County Boulder Municipal Court
                                            Federal Court            FILED
  Address:901 19th Street, Denver, CO 80294               UNITED STATES DISTRICT COURT
                                                                                DENVER, COLORADO
  Plaintiff:            David William Dacres Shaver                                03/13/2023
  Vs. Defendant(s):     Whittier Condominiums HOA                          JEFFREY P. COLWELL, CLERK
                        (City of Boulder has been sent Notice)
                                                                     COURT USE ONLY
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address): Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
   Complaint for Cause of Action : Replevin [Based on JDF 116](FRCP Rule 64 &/or CRCP 104)
 This is an action to recover possession of personal property and/or damages, within the demesne of this
 court. On 10/19/21, a fire occurred at the ‘Whittier Place Condominiums’complex, located at 2301
 Pearl Street, which damaged the building(s) and Condominium #39 containing Plaintiff's property. If
 recovery can’t be affected at the Condominium, collection of replacements may be required elsewhere.
 Plaintiff believes that this Court has jurisdiction over matters herein pursuant to FRCP Rule 64 or
 C.R.S. §13-6-104(1) due in part to personal property claimed having been valued above the limit of
 lesser courts, and that this Venue is the most proper, as this Court’s authority encompasses physical per-
 sonal properties which Plaintiff seeks to retrieve (which may potentially be interstate), identified in this
 complaint, and the (potential) Defendant(s) reside within it also. Further that acts which have prevented
 Plaintiff from recovering said property, or its value, occurred therein also. Moreover that the issues
 involve interpretations of the U.S. Constitution’s 4th, 5th and 14th amendments (pursuant to 28
 U.S.C.§1331). Plaintiff thus believes this the most appropriate avenue for Complaint.
 1) A list + valuation of personal property claimed may be attached to this Action, marked “Exhibit A”.
 2) Plaintiff is the owner of the property claimed or is entitled to possession of the properties due to
 Plaintiff having legally acquired all such, storing said possessions and being the sole resident at this
 address for over 18 years now (and is willing to supply testimony under oath to that effect).
 3) The Plaintiff’s interest in such property is further evidenced by electronic and/or written instruments.
 4) Copies of varying detail intended to be provided if after passage of the supplied “Motion to Seal”
 5) Plaintiff believes his property is wrongfully being detained by the Defendant(s) against the Plaintiff’s
 claim of right to possession, and with Plaintiff’s attempts at ‘self-help’or repossession denied.
 6) The means by which the Defendant(s) came into possession of the property and the specific facts



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 constituting detention against the right of the Plaintiff(s) to possession are as follows: ‘(State ( ) the
 source of your right to the property, ( ) how the Defendant(s) took possession, and ( )why you
 believe the Defendant(s) is/are wrongfully detaining the property from you)’:
   A) The vast majority of personal possessions therein were acquired by Plaintiff over his lifetime, and
    included such items as trophies won in ‘Swim Team’ or ‘Boy Scouts’or childhood, considered irre-
    placeable. Plaintiff has been the sole occupant of the Condominium for over 18 years, the property
    having originally been acquired by his Father (Marvin Dean Shaver, formerly Chief of Accounts
    Receivables of the Federal Mineral Management Service) in order to provide housing while
    Plaintiff was attending University; upon his Father’s recent death in 11/2020, this was assimilated
    into a Trust, which he was told was supposed to be converted into a separate Trust in his name.
    • Plaintiff and Trustee were recently involved in litigation primarily regarding the sale of the fami-
    ly residence [Ref: Jefferson County #21C417+21CV137 and Denver Probate: 2021PR030635], in
    which a Judge Ordered that possessions be removed from 246 Aspen Lane in Golden, which were
    moved to said Condominium. {Note: Somehow while Plaintiff was engaged in litigation with the
    Tampa Florida Trustee, ‘Members Trust Company’ in Colorado (represented by ‘Holland and Hart
    LLP’), records show the Whittier HOA was reregistered to a Florida Co. w/Tampa office (‘Sentry
    Property Management’ owned by a ‘James W. Hart’ ), apparently coinciding w/court filing dates :
    reported to Detective Sarah Cantu, 11/9/2021+, WRT Case#21-10021} [see also Moye+ Affidavit].
   B) A large additional quantity of Plaintiff’s possessions were recently moved from long term storage
    from where he grew up at his ancestral residence, 246 Aspen Lane, to 2301 Pearl #39, as a result of
    [Court Order#1 of 2021.08.02 in Denver Probate C#2021PR030635]
   C) Plaintiff was an owner of a Colorado LLC ‘Astrobyte’ which merged with an Oregon Corp
    (‘Extensis) in 1/1998, for which he received ‘merger consideration’ in the form of stock. [Instead
    of going public as originally claimed, the Oregon company merged with a series of entities, then
    effectively laundered its intellectual properties by selling them with the original Extensis name to a
    Japanese firm]. This Stock has not been saleable for anywhere near written representations




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    received as to its value (and Plaintiff’s Attorneys who originated the merger agreement have not yet
    been willing to represent him in pursuit of the matter, claiming amongst their primary consideration
    that the opposition had a larger ‘war chest’). Plaintiff and his family members have since been
    harassed for decades by agents of the Oregon Department of State Lands, who from his perspective
    appear to have effectively been attempting to extort him into what the merger agreement describes
    as an act to ‘surrender his shares’, effectively selling the stock to them for a lesser valuation than
    intended by the merger, nowhere near written representations of the value thereof received (which
    appear likely to be considered subject to confidentiality terms of the merger agreement). Both the
    Merger Agreement (paper in loose-leaf binder, likely to be water damaged), and Stock (in fireproof
    safe) are at the ‘Condominium’. Plaintiff requested an electronic copy from Plaintiff’s Attorneys,
    and eventually received a copy (which may be provided in association with ‘permissive joinder’
    motions of this complaint). Without revealing information which may qualify as confidential,
    Astrobyte was generating 7 figures in revenues prior to the merger, thus Plaintiff thinks you should
    be able to infer that the valuation of the merger consideration was supposed to be considerably
    higher than that. Plaintiff had been saving the stock as a ~‘Collectors Item’, along with other such
    stock certificates (and collectible stamps) in his fireproof safe, which, complete with provenance
    showing the value that this should have been worth, might likely alternatively someday be worth
    considerably more than the ~pittance that Oregon DSL has offered so far. Plaintiff’s mailing
    address is in a store otherwise specialising in ‘Collectible’s [Exh_C] http://www.collectons.com.
  D) Shortly after 3:30AM on the night of 10/19/21, Plaintiff was ordered to immediately leave the
    apartment by a relatively short female police officer banging incessantly on the door, and blocked
    from returning by a neighbor; although fire personnel and police in the days to follow indicated that
    residents would be allowed back in within days, this never happened, and Plaintiff has since
    received refusals in response to attempted repossessions. Plaintiff would not have left in the way
    that he did (leaving even his wallet and cell phone behind) had he not been ordered to do so, as he
    had his own escape plan in place, including climbing harness and rope for orderly exit of the unit
    via the balcony with much more of his most valued possessions intact.



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   E) Plaintiff believes that the refusals to allow access to the condominium are in violation of U.S. law
    in a number of ways, as illustrated in the accompanying filings including “BRIEF IN SUPPORT
    OF COMPLAINT/REPLEVIN OR MOTION FOR PRELIM INJUNCTION ”.
   F) Due to the City’s enforcement, including ‘no trespassing’ signs placed around the building (with
    the city attempting to press charges for infringement when Plaintiff attempted to visit, after having
    been given assurances that the HOA would not be (reference Boulder Metro Report #:21-11210
    Complaint #:G176765), and reported support for imminent preparations to tear the complex down
    without allowing residents to recover their possessions, a ‘Notice of Claim’ has been pre-emptively
    filed (with ‘CorVel’, as requested on the bouldercolorado.gov web site) in order that they may be
    Joined if necessary also.
   G) Plaintiff has had multiple conversations with the HOA, from within a week after the incident
    onwards, in which he expressed his opinions [Ex_F], and indicated a preference for recovery of his
    personal possessions. The HOA has by and large been unresponsive and obstructive to his efforts;
    when willing to give a response at all, they have indicated that their insurance was a major factor.
    Plaintiff has suggested means of recovery such as via rope access technicians (for which he even
    located training facilities in the area that residents might use), or via robotic means, to which the
    HOA has been unresponsive. Their insurance company eventually produced an ‘engineering
    report’ in which their own engineers expressed opposing (and self-contradictory!) opinions, appar-
    ently on the walkability of the internals of structures, which even appears to indicate that they felt
    that areas of the unit below were ‘safe’ but areas of Plaintiff’s unit directly above weren’t. [Ex_C].
    No opinions on rope access were expressed, residents were not provided with video which was
    reportedly taken of the internals of some units, and only a single ‘salvage’ company was proffered,
    which charged exorbitant rates to recover from those units apparently deemed walkable. Plaintiff
    provided AD&D insurance policy which he offered to use during self-help, but the HOA refused to
    evaluate its suitability, claiming that he would have to purchase it first (& refused to pay for that).
    Plaintiff’s Trustee also contacted HOA, who reportedly lied about providing opportunity to access.
 7) To the best of the Plaintiff(s)’ knowledge, information and belief, according to Colorado and


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     Boulder public records, the original* Defendant(s) have a residence and business address at:
     Whittier Condominiums HOA               (City of Boulder has been sent ‘Pre-emptive Notice of Claim*)
     President: Christine T Mollenkopf
     3445 CASTLE PEAK AVE, SUPERIOR, CO
 8) To the best of Plaintiff(s) knowledge, information and belief, surviving significant portions of the
 property at issue presently are located at the address: 2301 Pearl Street, #39, Boulder, CO
 9) Plaintiff(s) has made demand or request upon the Defendant(s) for return of the property or
 allowance for or facilitation of ‘self-help’ by Plaintiff or his Agents in retrieving Plaintiff’s property.
 Plaintiff(s) has not received the property from the Defendant(s), nor approval(s) to retrieve it, despite
 such demand or request and continues to be deprived of the use and enjoyment of the property.
 10) Plaintiff does not believe that the property at issue can be considered as having been taken for a tax
 assessment or a fine pursuant to statute; or seized under an execution against the property of the
 Plaintiff(s); or if so seized, it is by statute exempt from seizure.
 11) Federal or Colorado rules or law such as CRCP 104 or CRCCP 404 or FRCP 64 indicate that the
 Plaintiff(s) is entitled to an order of this Court directing the Defendant(s) to restore the Plaintiff(s) pos-
 session of the property may be seen in “Exhibit A + B”, and/or for judgment for the value of any
 irrecoverable thereof, if recovery or delivery cannot be made, and/or for any damages over detention of
 the property, and/or obstruction of Plaintiff’s ability to use ‘self-help’ to repossess it himself or via agents.
 WHEREFORE , Plaintiff(s) respectfully Prays for, and requests the following relief, God Willing:
    That the Court issue an Order to Show Cause directed to Defendant(s), if appropriate, to show cause
 why properties listed in the Action should not be obtained from Defendant(s) and delivered to Plaintiff;
    That the Court set a Show Cause Hearing within 14 days (i.e. as required by CRCP Rule 104(c) or
 CRCCP 404(c)), if appropriate, to make a preliminary determination concerning the right to possession
 of properties described in the Complaint;
    That the Court enter judgment for the Plaintiff(s) for the possession of the property listed in the
 Complaint or for the value thereof, in case delivery cannot be made, plus damages including for deten-
 tion and for any property not returned or returned in damaged condition [Writ of Assistance Attached];



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    District Court Boulder County Boulder Municipal Court
                                            Federal Court            FILED
  Address:901 19th Street, Denver, CO 80294               UNITED STATES DISTRICT COURT
                                                                               DENVER, COLORADO
  Plaintiff:             David William Dacres Shaver                              03/13/2023
  Vs. Defendant(s):      Whittier Condominiums HOA                        JEFFREY P. COLWELL, CLERK
                         (City of Boulder has been sent Notice)
                                                                    COURT USE ONLY
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address) Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
          UNSEALED MOTION FOR SUPPRESSING OR SEALING (i.e. RULE 5.2, 26)

                                 FILED WITHOUT ATTACHMENTS

      Plaintiff intends to separately file a sealed memorandum in support of this unsealed motion

                       for suppressing or sealing, in connection with this motion.

     • Those items sought to be sealed are largely categorizable as evidence related to events or valua-

 tions which occurred during the ‘Astrobyte     Extensis’ merger, or to associated ‘Permissive Joinders’.

     • Without disclosing the information sought to be kept confidential, Plaintiff’s intended confidential

 filings include documents from the Astrobyte     Extensis “AGREEMENT AND PLAN OF MERGER”,

 which contains a number of references indicating that portions (perhaps even the entirety) thereof are

 considered confidential or privileged, as well as information which Plaintiff believes should be still be

 classified as ‘confidential’ under section 11.12, or various other sections of the merger documents.

     • Evidence which is may be relevant to this action has been obtained via communications consid-

 ered privileged by Plaintiff , such as having been agreed to as being of a confidential nature between

 parties, or considered as subject to contracts which explicitly called for confidentiality (i.e. UTSA or

 CRS 24-72-204).



 WHEREFORE Plaintiff moves that, God Willing, this Court should enter an Order to allow docu-

 ments to be filed with suppressed or sealed status (at which point, further confidential filings are

 intended to be made available), and for any other appropriate relief deemed just and proper.

 Signature of ‘Plaintiff’:                   /s/David W
                                                      m Shaver     (PRO SE)      Date:       3.13.2023

 Address: 1750 30th St Suite A338, Boulder CO 80301                              Phone:     303-351-4239


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  ✔
   District Court of Colorado (Federal)
  _________________________________________ County, Colorado
  Denver
  Court Address:                                                                        FILED
  Address:901 19th Street, Denver, CO 80294                                  UNITED STATES DISTRICT COURT
  In Re:                                                                          DENVER, COLORADO
  Petitioner:               David William Dacres Shaver                                  03/31/2023
                                                                               JEFFREY P. COLWELL, CLERK
                                         vs,
  Respondent/Co-Petitioner:
                            Whittier Condominiums HOA +
                            (City of Boulder has been sent Notice)
                                                                                        COURT USE ONLY
  Attorney or Party Without Attorney (Name and Address):                    Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301                                              23-cv-00645-NYW

  Phone Number: 303-351-4239              E-mail:davidwshaver@yah
  FAX Number:                             Atty. Reg.#: PRO SE       Division                   Courtroom
                                             CERTIFICATE OF SERVICE

 I certify that:
                                                Complaint for Replevin+ of 3.13.2023 and all associated
 1.         The original and one copy of the    and subsequent filings through 3.31.2023
                                                                   (name of document)
            was ✔ mailed OR  delivered to the Clerk of the Court; and
                                   + via eMail on & since 3.13
 2.         A true and accurate copy of the same document was  hand delivered OR  faxed to this
            number                                  OR ✔
                                                        placed in the United States mail, postage prepaid,
            and addressed to the following parties on this date:     3.31.2023                                   .

 AND _X_ eMailed to the following parties:
 TO: ___________________________________
      sleff@wlpplaw.com : Suzanne M. Leff

         help@boulderhoa.com : Whittier HOA billing/help
        ___________________________________

      [Whereas:   Whittier HOA's legal representative,
         ___________________________________
      Suzanne Leff, was supplied with the original        ◀USPS Tracking#: 70212720000279792852
                                                             ETA 4/3
      filing links electronically, along with the Case#,
      as well as precedents that electronic service of
      process may be sufficient, (MEMORANDUM of David William Dacres Shaver (PRO SE) / Plaintiff
      6.3.2021, Case#21C417) but she replied "The         ✔
                                                           Petitioner OR  Respondent/Co-Petitioner
      Association does not intend to sign off on a
                                                           1750 30th St Suite A338
      waiver of service unless and until the documents Address
      are completed and presented in the manner
      provided under the court rules", so a set has been Boulder, CO 80301
      mailed to her, through today, at the address she City, State, Zip Code
      provided:         8020 Shaffer Parkway, Suite 300
                                                           303-351-4239
                       Littleton, CO 80127              ] (Area Code) Telephone Number (home and work)
      [Also, since the Court Clerk indicated they were
      barred by policy from downloading the ~55mb
      Exhibit J via the secure server links that I have
      provided, this has also been 'snail mailed' to them◀USPS Tracking#: 9500 1105 7830 3090 8242 74
      on a USB stick, along w/other original filings]        ETA 4/3
 JDF 1313     R7/00   CERTIFICATE OF SERVICE                                              PAGE 1 OF 1
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